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AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT                                                     FILED
                                                             for the                                        February 10, 2025
                                                 Western District of Texas                                 CLERK, U.S. DISTRICT COURT
                                                                                                           WESTERN DISTRICT OF TEXAS

                  United States of America                      )                                                       CM
                                                                                                       BY: ________________________________
                             v.                                 )                                                              DEPUTY

                                                                )       Case No. SA:25-MJ-194
          Uvaldo Jesus LOZANO-Alvarado                          )
                 A-XXX-XXX-445                                  )
                                                                )
                                                                )
                           Defendant(s)


                                             CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of July 13, 2020                               in the county of Bexar                               in the
Western                District of Texas                    , the defendant(s) violated:
            Code Section                                                  Offense Description
8 U.S.C. § 1326(a) & (b)(1)                Illegal Reentry Following a Previous Removal That Was Subsequent to
                                           a Felony Conviction

                                           Penalties: Up to 10 years of incarceration, up to a $250,000 fine, or
                                           both; up to 3 years of supervised release; and a $100 mandatory special
                                           assessment.

         This criminal complaint is based on these facts:

See attached Affidavit.




              Continued on the attached sheet.

                                                                        IGNACIO A CANTU Digitally signed by IGNACIO A CANTU
                                                                                        Date: 2025.02.09 15:56:53 -06'00'
                                                                                           Complainant’s signature

                                                                        Ignacio A. Cantu, Deportation Officer
                                                                                            Printed name and title
    Sworn to before me and signed in my presence.
    Sworn to telephonically and signed electronically.


Date:      February 10, 2025
                                                                                              Judge’s signature

City and state:      San Antonio, Texas                                 Richard B. Farrer, U.S. Magistrate Judge
                                                                                            Printed name and title
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Being duly sworn, I declare that the following is true and correct to the best of my knowledge:

My name is Ignacio Cantu, and I am a Deportation Oﬃcer with Immigration and Customs
Enforcement (ICE), Enforcement Removal Operations (ERO). I have been employed by ICE ERO
since October 24, 2011. I am authorized by the United States Department of Homeland Security
to enforce the Immigration Laws and Regulations of the United States, or any other Laws or
Regulations designated by the Attorney General or his successor, the Secretary of the Department
of Homeland Security.

On or about July 13, 2020, ICE/ERO Oﬃcers received a biometric hit after Uvaldo Jesus LOZANO-
Alvarado (hereafter “LOZANO”) was arrested by the Bexar County Sheriﬀ’s Oﬃce for Driving While
Intoxicated – Third Oﬀense, a charge which was ultimately dismissed. ICE/ERO oﬃcers
determined that LOZANO was an alien illegally present within the Unites States who had been
previously removed from the United States, and was residing at a speciﬁed address in San
Antonio, Texas (hereafter “target address”), which is located within the Western District of Texas.
ICE/ERO oﬃcers conducted immigration history and criminal history inquiries and conﬁrmed the
information provided in the encounter. Due to the guidelines set for COVID-19, a detainer was
not placed on LOZANO at that time. LOZANO was released from the Bexar County Jail.

On February 1, 2025, an ICE/ERO oﬃcer conducted physical surveillance of the target address. At
approximately 10:00am, the oﬃcer observed an adult male matching the photograph and
physical description of LOZANO at the target address and saw him enter the driver side of a vehicle
and then depart. No enforcement action was taken at that time, only surveillance.

On February 9, 2025, an ICE/ERO oﬃcer conducted physical surveillance of the target address. At
approximately 10:35am, the oﬃcer observed an adult male matching the photograph and
physical description of LOZANO at the target address and saw him enter the driver side of a vehicle
and then depart.

ICE/ERO oﬃcers initiated a vehicle stop at 11000 block of TX-151, in San Antonio, Texas, within
the Western District of Texas. ICE/ERO Oﬃcers arrested LOZANO and transported him to the
ICE/ERO San Antonio Resident Oﬃce.

At the ICE/ERO oﬃce, LOZANO’s ﬁngerprints were enrolled and submitted through immigration
and FBI databases, which veriﬁed his identity.

Databases reveal that LOZANO is a citizen and national of Mexico with assigned Alien Registration
Number A-XXX-XXX-445. A review of A-XXX-XXX-445 in the Enforce Alien Removal Module
(“EARM”), a Department of Homeland Security database, revealed that LOZANO is an alien who
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was previously removed from the United States to Mexico on multiple occasions, including in
September 2010, June 2011, and most recently on or about November 5, 2015.

Immigration databases revealed that LOZANO has not been granted permission to reapply for
admission from the Attorney General of the United States, or his successor, after his most recent
removal.

Additionally, a criminal history check revealed that LOZANO has a previous federal conviction in
this Court from January 2015 for illegal re-entry following a removal (SA:14-CR-618), a felony
oﬀense for which he was sentenced to 18 months incarceration; and previous state convictions
for Driving While Intoxicated, Driving While Intoxicated – 2nd Oﬀense, and Evading
Arrest/Detention With a Vehicle, for which he was sentenced to 6 months conﬁnement, 9 months
conﬁnement, and 1 year conﬁnement, respectively.

Based on the foregoing facts, there is probable cause to believe that Uvaldo Jesus LOZANO-
Alvarado, an alien, illegally re-entered and was found in the United States on or about July 13,
2020, after having been previously removed from the United States on or about November 5,
2015, and that LOZANO had not received permission to reapply for admission from the Attorney
General of the United States or his successor after his removal, all in violation of Title 8 United
States Code, Section 1326(a) & (b)(1).

If convicted of this oﬀense, the Defendant faces up to 10 years of incarceration, up to a $250,000
ﬁne, or both; up to 3 years of supervised release; and a $100 mandatory special assessment.



___________________________
Ignacio A. Cantu
Deportation Oﬃcer
Immigration and Customs Enforcement




Subscribed and sworn before me the 10th day of February 2025.



_____________________________
RICHARD B. FARRER
UNITED STATES MAGISTRATE JUDGE
